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 5

 6                        IN THE UNITED STATES DISTRICT COURT FOR THE
 7                               EASTERN DISTRICT OF CALIFORNIA
 8
                                                     )
 9   UNITED STATES OF AMERICA,                       )    Case No.: 1:19-CR-72 NONE-SKO
                                                     )
10                  Plaintiff,                       )    Joint Motion and Order To Modify Pre-Trial
                                                     )    Release Conditions
11          vs.                                      )
                                                     )
12   OSCAR MARROT-GARCIA,                            )    Date: TBD if necessary
                                                     )
13                  Defendant.                       )
                                                     )
14                                                   )
                                                     )
15

16

17      Motion Including Factual and Procedural Background

18      On or about April 3, 2019, Mr. Marrot Garcia was released pursuant to conditions which
19
     included electronic monitoring. Mr. Marrot Garcia has performed well on PreTrial Release
20
     complying with all his conditions including drug and alcohol testing. He has been attending
21
     counseling and he obtained and maintains employment.
22

23      Mr. Marrot Garcia’s supervising PreTrial Service’s officer has requested the parties to move
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     the Court for modification of his PreTrial Release conditions to eliminate the electronic
25
     monitoring requirement. PreTrial Services no longer believes that level of monitoring is
26
     necessary, and elimination of the electronic monitoring will allow a better use of PreTrial’s
27

28   limited resources.
                                                      1
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            All other conditions of Mr. Marrot Garcia’s release would remain in force after the
 1

 2   proposed modification.

 3

 4

 5                                         Conclusion
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 7          For the reasons noted above, the requested modification of PreTrial Release conditions

 8   should be ordered.

 9
     Dated: May 15, 2020                                   Respectfully submitted,
10
                                                           /s Kevin Rooney
11                                                         KEVIN P. ROONEY
12                                                         Attorney for Defendant
                                                           OSCAR MARROT GARCIA
13

14
                                                     ORDER
15

16          Based on the motion of the defendant, the agreement of Pretrial Services, and no

17   objection by the government, IT IS HEREBY ORDERED THAT, Oscar Marrot Garcia’s

18   conditions of release is modified to eliminate the electronic location monitoring condition. All
19
     other conditions of Mr. Marrot Garcia’s release remain in full force and effect.
20
     IT IS SO ORDERED.
21

22      Dated:     May 27, 2020                               /s/ Barbara A. McAuliffe              _
                                                          UNITED STATES MAGISTRATE JUDGE
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